                      UNITED STATES DISTRICT COURT

                      MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA,             :        CIVIL ACTION NO. 3:23-CV-00019
                                      :
VERSUS                                :        BRIAN A. JACKSON, JUDGE
                                      :
BOB DEAN, JR.; HOUMA PROPERTY         :        SCOTT D. JOHNSON, MAGISTRATE
                                      :        JUDGE
HOLDING, CO., L.L.C.; HARVEY PROPERTY :
HOLDING CO., L.L.C., PROPERTY HOLDING :
CO. OF CRESCENT CITY, L.L.C.; WEST    :
JEFFERSON PROPERTY HOLDING, CO.,      :
L.L.C.; MAISON DE’VILLE NURSING       :
HOME, INC.; MAISON DE’VILLE NURSING   :
HOME OF HARVEY, INC.; UPTOWN          :
                                      :
HEALTHCARE CENTER, L.L.C.; ST.        :
ELIZABETH’S CARING, L.LC.             :

             EXHIBIT LIST TO MOTION TO APPEAR PRO HAC VICE

 Exhibit            Description

 A                  Supreme Court of Georgia Certificate of Good Standing

 B                  Affidavit and Oath of Stephen M. Katz



                                          Respectfully submitted,

                                          Taylor, Porter, Brooks & Phillips, L.L.P.




                                          By: /s/ John T. Andrishok _________________
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                                            Attorney for Defendants




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                              CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing document

was filed electronically with the Clerk of Court using the CM/ECF filing system. Notice of this

filing will be sent to all counsel by operation of the Court’s electronic filing system.

         Baton Rouge, Louisiana, this 6th day of September, 2023



                                                /s/ John T. Andrishok
                                                JOHN T. ANDRISHOK




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